                 Case 1:25-mj-01002-DLC          Document 1-2        Filed 01/14/25     Page 1 of 2
Criminal Case Cover Sheet                                              U.S. District Court - District of Massachusetts

Place of Offense:                     Category No.                     Investigating Agency

City

County




Defendant Information:




Defense Counsel if nown:



U.S. Attorney Information



Interpreter:

Victims:

Matter to be SEALED:



  cation Status:

 rrest Date




Charging Document:

Total # of Counts:



         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.
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District Court Case Number
Name of Defendant
                                        U.S.C. Citations
           Index Key/Code              Description of Offense Charged              Count Numbers
